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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

DATA COLLECTIVE II, L.P., DCVC
OPPORTUNITY FUND, L.P., and DCVC                            25-mc-57
                                          Misc. Case No. ______________________
MANAGEMENT CO, LLC,

                    Petitioners,          Related to Civil Action No. 5:21-cv-06028-
                                          PCP, pending in the United States District
v.                                        Court for the Northern District of California

BARON CAPITAL MANAGEMENT INC.,

                    Respondent.


______________________________________________________________________________

        PETITIONERS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
   MOTION TO COMPEL DEPOSITION AND PRODUCTION OF DOCUMENTS
_____________________________________________________________________________


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                                         INTRODUCTION

        Petitioners Data Collective II, L.P., DCVC Opportunity Fund, L.P., and DCVC

Management Co, LLC (“DCVC” or “Petitioners”) seek this Court’s order (I) to enforce non-party

document and deposition subpoenas to respondent Baron Capital Management Inc. (“Baron” or

“Respondent”) or, in the alternative, (II) to transfer this matter to the Northern District of California

pursuant to Federal Rule of Civil Procedure 45(f). The subpoenas seek targeted discovery from

Respondent that is relevant to a securities class action pending in the United States District Court

for the Northern District of California, captioned Wang v. Zymergen Inc. et al., No. 5:21-cv-06028-

PCP (N.D. Cal.) (“Wang” or the “Underlying Litigation”). Baron has been producing documents,

but fact discovery closed in the Underlying Litigation on January 31, 2025, see Wang, No. 5:21-

cv-06028-PCP, Dkt. 364, before completion of Baron’s document production and before it

confirmed whether and when it will appear for a deposition. The plaintiffs in the Underlying

Litigation have refused to stipulate to an extension of discovery as to allow Baron to complete its

document production and to allow Petitioners to depose Baron. Under the applicable rules, all

remaining discovery disputes must be brought within seven (7) days of fact discovery close, by

February 7, 2025. See N.D. Cal. Civ. L.R. 37-3. As such, Petitioners submit this motion to ensure

completion of Baron’s document production and to compel Baron to appear for a deposition.

                                   RELEVANT BACKGROUND
        The Underlying Litigation concerns securities fraud claims brought by plaintiffs Biao

Wang and West Palm Beach Firefighters’ Pension Fund (the “Wang Plaintiffs”) against Zymergen

Inc. (“Zymergen” or the “Company”), among many other defendants, including Petitioners, in

connection with the Company’s initial public offering (“IPO”) in April 2021. The Wang Plaintiffs

allege that the offering documents for Zymergen’s IPO were inaccurate and misleading, in part

based on statements regarding the market opportunity for Zymergen’s products and its projected


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revenue. See Decl. of Zaneta Kim in Supp. of Pet’rs Mot. to Compel Dep. and Produc. of Doc.

(the “Kim Decl.”), ¶ 4, Ex. A (the “Wang Complaint”). Specifically, against Petitioners, the Wang

Plaintiffs assert control person claims under Section 15 of the Securities Act of 1933. See id.

       Prior to Zymergen’s IPO, Baron was a significant Series D investor in the Company. Baron

was thus privy to inside information about Zymergen. Kim Decl. ¶ 5.a. And during all relevant

times at issue in the Wang Complaint, Baron served as an investment manager for plaintiff West

Palm Beach Firefighters’ Pension Fund (“WPBFPF”). Id. ¶ 5.b. Baron had the authority to, and

did in fact, purchase Zymergen stock on behalf of WPBFPF following Zymergen’s IPO. Id.

       Petitioners served document and deposition subpoenas on Baron in this District in

connection with the Underlying Litigation on November 21 and December 3, 2024, respectively. 1

Kim Decl. ¶¶ 6, 7, Exs. B (Pet’rs’ Rule 45 Doc. Subpoena to Baron, dated November 21, 2024), C

(Pet’rs’ Rule 45 Dep. Subpoena to Baron, dated December 3, 2024). In response to the document

subpoena, Baron has produced 1,087 documents to date and has indicated that it expects to

complete its document production by the end of February 2025. Id. ¶¶ 9, 12, Ex. D (Letter from

J. Polkes dated January 30, 2025). In response to the deposition subpoena, Baron has taken the

position that a deposition is unnecessary and has not yet provided any date in which it will appear

for a deposition. 2 Id. ¶¶ 10, 12, Ex. D . To date, Baron has neither moved to quash the deposition

subpoena nor definitively refused to appear for a deposition. Id. ¶ 10.

       Fact discovery in the underlying matter closed on January 31, 2025. See Wang, No. 5:21-

cv-06028-PCP, Dkt. 364. Under the applicable rules, Petitioners are required to bring any



1
 Baron served its response and objections to the document subpoena on December 11, 2024; it
has not served any responses and objections to the deposition subpoena to date. Kim Decl. ¶ 8.
2
  Baron did indicate, however, that it will not object to appearing for a deposition in February on
the basis that the fact discovery cutoff has passed. See Kim Decl. ¶ 12, Ex. D.


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remaining discovery dispute by February 7, 2025. See N.D. Cal. Civ. L.R. 37-3. In light of the

remaining discovery from Baron, Petitioners attempted to stipulate to an extension of fact

discovery (specifically as it relates to Baron) with the Wang Plaintiffs to avoid this motion. Kim

Decl. ¶ 12. However, the Wang Plaintiffs refused. 3 Id. ¶ 14. As a result, despite ongoing

cooperation from Baron, a court order is necessary to preserve DCVC’s rights.

                                          ARGUMENT

    I.      Baron Should Be Compelled to Fully Comply with DCVC’s Subpoenas

         Petitioners respectfully request the Court’s intervention to compel Baron to comply with

their subpoenas by (1) appearing for a deposition; and (2) completing its document production at

least a week in advance of the deposition. DCVC has complied with the requirements of Federal

Rule of Civil Procedure 45 by narrowly tailoring its discovery requests to seek only relevant

information proportional to the needs of the Underlying Litigation, and the requests do not impose

undue burden or cost on Baron. As such, DCVC’s request to compel must be granted.

         A. DCVC Is Entitled to Discovery from Baron

         DCVC is unquestionably entitled to seek discovery from Baron. See Fed. R. Civ. P.

30(a)(1), 45, and 34(c). Under Federal Rule of Civil Procedure 45 (“Rule 45”), parties may

subpoena nonparties for both documents and deposition. See Fed. R. Civ. P. 45(a)(1)(B)–(D); see

also City of Almaty, Kazakhstan v. Sater, 2022 WL 769213, at *2 (S.D.N.Y. Feb. 24, 2022). And

Federal Rule of Civil Procedure 26 (“Rule 26”) permits discovery on “any nonprivileged matter

that is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). Nonparties are subject

to this same scope of discovery. City of Almaty, 2022 WL 769213, at *2 (citing First Am. Corp.



3
 Prior to fact discovery close, Petitioners informed Baron that this motion may be necessary
should Plaintiffs refuse to stipulate to an extension of fact discovery as to Baron. Kim Decl. ¶ 13.


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v. Price Waterhouse LLP, 154 F.3d 16, 21 (2d Cir. 1998)).

         Rule 45 subpoenas are governed by the relevancy and proportionality guidelines of Rule

26. Delta Air Lines, Inc. v. Lightstone Grp., LLC, 2021 WL 2117247, at *2 (S.D.N.Y. May 24,

2021).     The party seeking discovery bears the initial burden of proving relevance and

proportionality, and “the burden then shifts to the party opposing discovery to show that the

information sought is privileged or unduly burdensome.” Delgado v. Donald J. Trump for

President, Inc., 2024 WL 3730499, at *2 (S.D.N.Y. May 13, 2024); see also Fireman’s Fund Ins.

Co. v. Great Am. Ins. Co. of N.Y., 284 F.R.D. 132, 135 (S.D.N.Y. 2012) (“Once relevance has been

shown, it is up to the responding party to justify curtailing discovery.”). As outlined below, infra

§§ I.B and I.C, DCVC’s subpoenas to Baron are both relevant and proportional to the needs of the

Underlying Litigation, and DCVC has taken careful steps to minimize the burden of the subpoenas.

Accordingly, Petitioners are entitled to discovery set forth in the subpoenas.

         B. The Subpoenas Seek Information That Is Relevant

         Rule 26(b)(1) provides that “[p]arties may obtain discovery regarding any nonprivileged matter

that is relevant to any party’s claim or defense.” “Relevance” under Rule 26 is to be “‘construed broadly

to encompass any matter that bears on, or that reasonably could lead to other matter that could bear on’

any party’s claim or defense.” Mortg. Resol. Servicing, LLC v. JPMorgan Chase Bank, N.A., 2016 WL

3906712, at *3 (S.D.N.Y. July 14, 2016) (quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

(1978)).

         The discovery DCVC seeks from Baron is highly relevant to the claims and defenses in Wang.

The Wang Plaintiffs allege that the Company’s offering documents for Zymergen’s IPO contained

inaccurate and misleading statements in violation of federal securities laws. During the relevant period

in the Wang Complaint, Baron served as an investment manager for plaintiff WPBFPF, and Baron had




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the authority to, and did in fact, purchase Zymergen stock on behalf of WPBFPF following Zymergen’s

IPO. Kim. Decl. ¶ 5.b. Baron was also a significant Series D investor in Zymergen and was thus privy

to inside information about the Company prior to the IPO. Id., ¶ 5.a. The discovery Petitioners seek

from Baron concern, among others, Baron’s investments in Zymergen and its knowledge about the

information allegedly omitted from Zymergen’s offering documents prior to the IPO.

       Baron’s knowledge regarding Zymergen is critical to the Underlying Litigation because all

knowledge it gained about the alleged misrepresentations is imputed to WPBFPF (and any other

class members for whom Baron served as the investment manager). See Villella v. Chem. &

Mining Co. of Chile Inc., 2018 WL 2958361, at *4-5, 8 (S.D.N.Y. June 13, 2018) (granting

discovery from investment advisor because advisor’s knowledge may be imputed to plaintiff).

And if Baron—and thus WPBFPF—knew, prior to the IPO, about the information allegedly

omitted from the offering documents, then WPBFPF’s claims would be barred. See, e.g., 15

U.S.C. § 77k(a) (a person may not sue if “it is proved that at the time of such acquisition he knew

of such untruth or omission”). Moreover, as one of the largest purchasers of Zymergen stock in

the IPO, see Kim Decl. ¶ 5.c, it is likely that Baron also purchased Zymergen stock on behalf of

other potential class members. The claims by any such class members would similarly be barred,

but DCVC cannot identify these class members without discovery from Baron.

       C. The Subpoenas Do Not Impose an Undue Burden on Baron

   Baron has the burden of showing that compliance with the subpoenas would impose an undue

burden or cost, Delgado, 2024 WL 3730499, at *2, and “inconvenience alone” will not relieve it

of its obligations under Rule 45. Jam Indus. USA, LLC v. Gibson Brands, Inc., 2020 WL 4003280,

at *3 (S.D.N.Y. July 15, 2020). If Baron asserts that the subpoenas present an undue burden, it

must provide “specific information regarding the manner and extent of the burden and the injurious




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consequences of insisting upon compliance.” Kirschner v. Klemons, 2005 WL 1214330, at *3

(S.D.N.Y. May 19, 2005). “[C]onclusory assertion[s]” regarding burden will not suffice. Jam

Indus., 2020 WL 4003280, at *4.

   As a preliminary matter, Baron has neither sought to quash the deposition subpoena nor

definitively refused to sit for a deposition to date. Kim Decl. ¶ 10. Instead, Baron has indicated

that a deposition is unnecessary and, despite Petitioners’ repeated requests, has not yet provided

any date on which it will appear for a deposition. See id. But for reasons stated above supra §

II.B, information DCVC seeks in Baron’s deposition testimony is highly relevant to the claims in

the Underlying Litigation and thus necessary.

   Moreover, compelling Baron to appear for a deposition does not impose an undue burden on

Baron. DCVC noticed the deposition to be held in New York, where Baron is based, and the topics

of the deposition are limited to the exact topics of the documents subpoena that Baron has already

agreed to comply with. See id. ¶ 7, Ex. C. “Certainly[,] the obligation for sitting for a deposition

is not, in and of itself, burdensome.” Probulk Carriers Ltd. v. Marvel Int’l Mgmt. & Transp., 180

F. Supp. 3d 290, 293 (S.D.N.Y. 2016) (denying motion to quash subpoena to foreign national);

see also Fed. R. Civ. P. 45(a)(1)(A)(iii) (providing that nonparty subpoena may command

responding party to “attend and testify”), 30(a)(1) (“A party may, by oral questions, depose any

person, including a party, without leave of court” (emphasis added)); Wultz v. Bank of China Ltd.,

298 F.R.D. 91, 99 (S.D.N.Y. 2014) (denying motion to quash and finding no undue burden even

where nonparty’s designated representative resided in Israel); Ohio Dep’t of Ins. v. RPM Mortg.,

Inc., 2020 WL 8513150, at *3 (S.D.N.Y. Dec. 2, 2020) (denying motion to quash deposition

subpoena because responding party failed to “identify anything especially burdensome about the

deposition”).




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   As to the document subpoena, after several rounds of meet-and-confer calls and email

exchanges, Petitioners and Baron have agreed to the scope of documents production. Kim Decl.

¶ 9. Indeed, Baron has indicated that it expects to complete its document production by the end of

this month. See id. ¶¶ 9, 12, Ex. D. There is no undue burden by compelling Baron to complete

its production of documents in the next two weeks.

   II.      Alternatively, This Dispute Should Be Transferred to the Wang Court

   DCVC brings this motion in the Southern District of New York as it is the “court for the district

where compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(i); see also Fed. R. Civ. P. 37(a)(2)

(“A motion for an order to a nonparty must be made in the court where the discovery is or will be

taken.”). However, it is appropriate to transfer this motion to the Wang court under Rule 45(f).

See, e.g., J.P. Morgan Sec. LLC v. Baron Cap. Mgmt., Inc., Case No. 1:25-mc-00022-AS, Dkt. 24

(S.D.N.Y. Jan. 23, 2025) (granting transfer because, inter alia, “[t]he Court sees no reason to

involve itself in a complex, years-long litigation that another court is actively overseeing,

especially when that other court has crucial background knowledge about the case that this Court

does not”); Amyndas Pharms. Single Member P.C. v. Alexion Pharms., Inc., 2023 WL 8280973,

at *1 (S.D.N.Y. Nov. 30, 2023) (granting transfer because, inter alia, the issuing court

“establish[ed] and modif[ied] a discovery schedule” and “has ruled on several discovery motions

that are pertinent to the disputed subpoenas”). As such, as an alternative to this Court’s order

compelling Baron to comply with the subpoenas, Petitioners request a transfer of this motion to

the court in which the Underlying Litigation is pending.

                                          CONCLUSION

         For the foregoing reasons, Petitioners respectfully request that this Court compel Baron to

complete its document production by February 21, 2025, and appear for a deposition by




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February 28, 2025. In the alternative, Petitioners request a transfer of this matter to the Wang

court pursuant to Federal Rule of Civil Procedure 45(f).


Dated: February 7, 2025                      Respectfully submitted,

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                            WORD COUNT CERTIFICATION
       The undersigned hereby certifies that, pursuant to Local Rule 7.1, this Memorandum of

Law in Support of Petitioner’s Motion to Compel Deposition and Production of Documents

contains 2,350 words, counted using Microsoft Word’s word count feature.


Dated: New York, New York
       February 7, 2025

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